Case: 1:22-cv-01291 Document #: 1-9 Filed: 03/10/22 Page 1 of 5 PageID #:58




                      Exhibit I
                             Case: 1:22-cv-01291 Document #: 1-9 Filed: 03/10/22 Page 2 of 5 PageID #:59
earing Date: No hearing scheduled
ocation: <<CourtRoomNumber>>
Jdge: Calendar, 3
                         This form is approved by the lllinois Supreme Court and is required to be accepted in all
                                                                                                                   Ninoisfine pit Courts.
        0                STATE OF ILLINOIS,                                                                                   For Cent U:2/8/2022 12:16 PM
                           CIRCUIT COURT                                                                                                 IRIS Y. MARTINEZ
                                                                                          SUMMONS                                        CIRCUIT CLERK
               Cook                        v|    COUN                                                                                    COOK COUNTY, ’ IL
                                                  QuNTY                                                                                  2022CH01062
               Instructions v                                                                                                            Calendar, 3
                                                                                                                                         16618927
            Enter above the
            county name where
            the case was filed.                 ATHENA BITCOIN GLOBAL
            Enter your name as                   Plaintiff / Petitioner (First, middle, last name)
            Plaintiff/Petitioner.
            Enter the names of all
            people you are suing as              V.
            Defendants/
            Respondents.
            Enter the Cane                      ROI DEVELOPERS, INC. D/B/A ACCRUVIA                                          2020CH01062
            Number given by the                  Defendant / Respondent         (First, middle, last name)                   Case Number
            Circuit Clerk.


            In 1, if your lawsuit is             1.     Information       about the lawsuit:
        for money, enter the                           Amount       claimed:         $    3,000,000.00
            amount of money you
            seek from the
            Defendant/                           2.    Contact information for the Plaintiff/Petitioner:
            Respondent.                :               Name (First, Middle, Last): ATHENA BITCOIN GLOBAL
            In2, enter your                            Street Address, Apt#:             1332 N. HALSTED ST., SUITE 401
        contact information.                           City, State, ZIP:       CHICAGO,         IL 60642
        If more than 1 persen                                                        -
        is bringing this                               Telephone:         (312) 690-4466
        lawsuit, attach an                             See attached for additional Plaintiff/Petitioner contact information
        Additional
        Plaintiff/Petiti
        Ln                                      3.     Contact information for the Defendant/Respondent:
        form.                                          Name (First, Middle, Last):         ROI DEVELOPERS,         INC. D/B/A ACCRUVIA
        In 3, enter the name of                        Street Address, Apt #:            615 W Harwood       Rd.
        he parson you ais
        suing and their
                                                       City, ? State, : ZIP:   Hurst, TX 76054
        address.                                       Telephone:        (817) 714-6929
        If more than 1 person is                       See attached for additional Defendant/Respondent contact information
        being sued, attach an
        Additional
        Defendant/Respondent
        Contact Information
        form.




                                                          You have been sued.
                                                          Follow the instructions on the next page on how to appear/answer.
                                                               e   If you do not appear/answer the court may decide the case without hearing from you and
                            ;                                      enter 4 judgment against you for what the plantiff/petitioner is asking.
       Important Information for the
       person receiving this form:                            ©    Your written appearance/answer must be filed on time and in the prever form.
                                                                e    Forms for a written appearance/answer are available here:
                                                                     http://www .illinoiscourts.gov/forms/approved/default.asp
                                                          If you cannot afford to pay the fee for filing your appearance/answer, ask the circuit clerk for an
                                                          application for waiver of court fees.
                                                          You should read all of the documents attached.




       SU-S 1503.1                                                                        Page 1 of 4                                                    (09/18)
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                                                                        Enter the Case Number given by the Circuit Clerk:

   In 4, the Circuit Clerk      ]      4.     Instructions for person receiving this form (Defendant/Respondent):
   SA give yout cout                          To respond to this Summons you must:
   date or appearance
   date, check any boxes                      [J    Goto    court:
   that apply, and include                          On   this date:                                   at this time:                        [1   —          pm.
   the address of the                                         ]                                                        Cou         Rac
   court building and                               Address:                                                                ourt   Room:
   room where the                                   City, State, ZIP:
   Defendant/
   a           ——         Ble                [J     File a written Appearance and Answer/Response with the court:
          CS    Se.                                                                            :                                            ]
                                                   On or before this date:                            at this time:                             am.    [J p.m.
                                                   Address:
                                                   City, State, ZIP:

                                                   File a written Appearance and Answer/Response with the court within 30 days from
                                                   the day you receive this Summons (listed below as the “Date of Service”).
                                                   On this date:                                     at this time:                              a.m.      p.m.
                                                   Address:
                                                   City, State, ZIP:       CHICAGO,        IL


           STOP!                                                       2/8/2022 12:16 PM IRIS Y. MARTINEZ
                                      Witness this Date:
  The Circuit Clerk will
  fill in this section.               Clerk of the Court:




          STOP!                      This Summons          must      be served within 30 days of its date, listed above.
 The officer or process
 server will fill in the
 Date of Service.
                                     Date of Service:
                                                            (Date to be entered by an officer or process server on the copy of this Summons
                                                                                                                                            left
                                                            with the Defendant/Respondent or other person. )



                                    To serve this Summons, you must hire the sheniff (or a private process server outside
                                                                                                                          of Cook County) to
                                    dehver it and your Complaint/Petition to the Defendant/Respondent. If the sheriff (or
                                                                                                                            private process
      i         Su                  server outside of Cook County) tries but can’t serve the Summons, fill out another summons
  Plaintiff/Petitioner:             process.                                                                                       and repeat this




                                    E-Filing is now mandatory for documents in civil cases with limited exemptions.
                                                                                                                            To e-file, you must first
                                    create an account with an e-filing service provider. Visit http://efile.illinoiscourts.
        Attention:                                                                                                           gov/service-providers. htm
                                    to learn more and to select a service provider. If you need additional help or
                                                                                                                       have trouble e-filing, visit
                                    http://www. illinoiscourts.gov/fag/gethelp.asp. or talk with your local circuit clerk's
                                                                                                                              office,




SU-S 1503.1                                                                  Page 2 of 4                                                               (09/18)
                 Case: 1:22-cv-01291 Document #: 1-9 Filed: 03/10/22 Page 4 of 5 PageID #:61

              This form is approved          by the lilinois Supreme Court and is required to be accepted in all lllinois Circuit
                                                                                                                                  Courts.
              STATE       OF ILLINOIS,                                                                                       For Con Ton On
               CIRCUIT COURT                                    AFFIDAVIT OF SERVICE OF
                                                                     SUMMONS AND
      Cook                   [+] county                             COMPLAINT/PETITION

       Instructions
  Enter above the
  county name where
  the case was filed.           ATHENA BITCOIN GLOBAL
  Enter your name as             Plaintiff / Petitioner (First, middle, last name)
  Plaintiff/Petitioner,
  Enter the name of the
  Person you are suing as        Vv.
  Defendant/Respondent.
  Enter the Case                ROI DEVELOPERS, INC. D/B/A ACCRUVIA
  Number given by the            Defendant / Respondent             (First, middle, last name)                           Case Number
  Circuit Clerk.



                                 **Stop. Do not complete the form. The sheriff will fill in the form.**

  DO NOT complete                My name is
  this section. The                                                                                                               and | swear under oath
                                                        First, Middle, Last
  sheriff will complete
  it.                            that | served the Summons and Complaint/Petition on the Defendant/Respondent


                                                                                                                    as follows:
                                First, Middle, Last


                                        [J]      Personally on the Defendant/Respondent:
                                                Male:      []        Female:      [J       Approx. Age:               ____    Hair Color:
                                                Height:                    Weight:
                                                On this date:                                       at this time:                           (Jam.   [Jpm.
                                                Address:
                                                City, State, ZIP:

                                        []      Atthe Defendant/Respondent’s home:
                                                On this date:                                      at this time:                            (Jam.   Jp.m.
                                                Address:
                                                City, State, ZIP:
                                                And left it with:
                                                                        First, Middle, Last
                                                Male:      []       Female:      []         Approx. Age:
                                                and by sending a copy to this defendant in a postage-paid, sealed envelope to
                                                                                                                              the
                                                above address on                        , 20

                                       [J]     On the Corporation's agent,
                                                                                         First, Middle, Last
                                               On this date:                                      at this time:                     Ulam.           Opm.
                                               Address:
                                               City, State, ZIP:




SU-S 1503.1                                                                Page 3 of 4                                                                (09/18)
               Case: 1:22-cv-01291 Document #: 1-9 Filed: 03/10/22 Page 5 of 5 PageID #:62

                                            Enter the Case Number given by the Circuit Clerk;

  DO NOT complete       By:
  this section. The
  sheriff, or private
  process server will
  complete it.          Signalure                                         FEES
                                                                          By certified/registered   $
                                                                          Service and Return        $
                        Print Name                                        Miles:                    $
                                                                         Total       §




SU-S 1503.1                                       Page 4 of 4                                           (09/18)
